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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA ex rel. PAUL                         Civil Action No. 1:19-cv-3581
 TERRION and JODY EBERHART, et al.,
                         Plaintiffs/Relators,
                                                               UNOPPOSED MOTION FOR
 v.                                                            VOLUNTARY DISMISSAL OF
 POINT BLANK ENTERPRISES, INC., et al.,                        CERTAIN CLAIMS

                           Defendants.


      UNOPPOSED MOTION FOR VOLUNTARY DISMISSAL OF CERTAIN CLAIMS

        Plaintiffs/Relators Paul Terrion and Jody Eberhart (“Relators”) respectfully move for leave

to dismiss certain claims in this action. In support of their motion, Relators state as follows:

        1.       This case is brought under the federal False Claims Act, 31 U.S.C. §§ 3729 et seq.,

and various state and local false claims statutes.

        2.       On May 25, 2022, Counsel for Relators and Counsel for Defendant Point Blank

Enterprises, Inc. filed a joint motion for an extension of time to amend the complaint. ECF No.

12. The same day, the Court granted this motion and ordered that any amended complaint be filed

by July 5, 2022. ECF No. 14.

        3.       Relators intend to pursue this matter only against Defendant Point Blank

Enterprises, Inc. Relators intend to dismiss Defendants JLL Partners, LLC, Sun Capital Partners,

Inc., Rival Technologies, LLC, and Galls, LLC. In addition, Relators do not intend to pursue this

matter on behalf of the State of Oklahoma (Count XX of the Original Complaint) or the City of

Chicago (Count XXVI of the original Complaint).

        4.       Ordinarily, a litigant may dismiss an action “without a court order by filing . . . a

notice of dismissal before the opposing party serves either an answer or a motion for summary

judgment.” Fed. R. Civ. P. 41(a)(1)(A)(i). This rule also grants a litigant the authority to dismiss


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individual claims within an action. See, Reetz v. Jackson, 176 F.R.D. 412, 413 n.2 (D.D.C. 1997).

       5.       In addition, pursuant to Fed. R. Civ. P. 21, “the court may at any time, on just terms,

add or drop a party.” This rule is governed by “‘the same standard of liberality’” that applies to

Rule 15, FTD Corp. v. Banker’s Tr. Co., 954 F. Supp. 106, 109 (S.D.N.Y. 1997) (quoting Fair

Housing Dev. Fund Corp. v. Burke, 55 F.R.D. 414, 419 (E.D.N.Y.1972)), under which “[t]he court

should freely give leave [to amend] when justice so requires,” Fed. R. Civ. P. 15(a)(2).

       6.       However, under most of the statutes governing the claims asserted in this action, a

claim may be dismissed only with the consent of the government and/or the Court.1 See Cal. Gov’t

Code § 12652(c)(1); Del. Code tit. 6, § 1203(b)(1); D.C. Code § 2-381.03(b)(1); Fla. Stat. §

68.083(2); Haw. Rev. Stat. § 661-25(a); 740 Ill. Comp. Stat. 175/4(b)(1); Ind. Code § 5-11-5.5-

4(b); Iowa Code § 685.3(2)(a); Mass. Gen. Laws ch. 12, § 5C(2); Minn. Stat. § 15C.05(a); Mont.

Code § 17-8-406(1); Nev. Rev. Stat. § 357.080(1); N.J. Stat. § 2A:32C-5(c); N.M. Stat. § 44-9-

5(A); N.C. Gen. Stat. § 1-608(b)(1); R.I. Gen. Laws § 9-1.1-4(b)(1); Tenn. Code § 4-18-104(c)(1),

Vt. Stat. tit. 32, § 632(b)(2); Va. Code § 8.01-216.5(A); P.R. Laws tit. 32, § 2934a(2)(A).

       7.       Counsel for Relator has contacted the attorneys representing all of the foregoing

jurisdictions, as well as the state of New York, whose False Claims Act does not explicitly require

such consent. All of these jurisdictions—with the exception of Illinois, Massachusetts, and New

Mexico—have consented in writing to the dismissal of Relators’ claims against Defendants JLL

Partners, LLC, Sun Capital Partners, Inc., Rival Technologies, LLC, and Galls, LLC, without

prejudice. Illinois, Massachusetts, and New Mexico have not yet indicated whether they consent.




1
  The City of Hallandale Beach, Broward County, and Miami-Dade County impose no such
restrictions. See Hallandale Beach Code of Ordinances § 8-205; Broward Cnty. Code of
Ordinances § 1-280; Miami-Dade Cnty. Code § 21-259. Accordingly, Relators have already
dismissed all claims related to these parties pursuant to Fed. R. Civ. P. 41. ECF No. 14.


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       8.       Pursuant to Okla. Stat. tit. 63, § 5053.2(B)(1), the State of Oklahoma has consented

in writing to the dismissal of Count XX of the original Complaint without prejudice.

       9.       Pursuant to Mun. Code of Chicago § 1-22-030(b)(1), the City of Chicago has

consented in writing to the dismissal of Count XXVI of the original Complaint without prejudice.

       10.      Defendant Point Blank Enterprises, Inc. does not oppose the relief requested herein.

       11.      Accordingly, Relator respectfully requests that the Court:

                a.     Dismiss all claims against Defendants JLL Partners, LLC, Sun Capital

                       Partners, Inc., Rival Technologies, LLC, and Galls, LLC, without prejudice;

                b.     Dismiss all claims pursuant to the Oklahoma Medicaid False Claims Act

                       (Count XX of the original Complaint) and the Chicago False Claims

                       Ordinance (Count XXVI of the original Complaint), without prejudice; and

                c.     Accept the First Amended Complaint (lodged with this Motion) for filing.


Dated: July 5, 2022                           Respectfully submitted,



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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 5, 2022, a copy of the foregoing motion was served on all
counsel of record via this Court’s CM/ECF filing system, and that I caused a copy of the foregoing
motion to be served via first-class mail on all parties not registered with the Court’s CM/ECF filing
system.

                                                              /s/ Noah M. Rich
                                                              Noah M. Rich


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